C.IA 20 APPOINTMENT OF AND AUTHOR!TY 'IU PAY COURT APPOINTED COUNSEL

 

 

 

 

 

 

 

 

  
   

l. ctR.mlsT.mr@AS@ 21041\@|&52:04:1;55&\;}56 L)OCUI'T]€H[ 85 I-ii€t,ll utdl'u lQ C E R
TNW Clay, Landon
3. MAG. DK'rmEF. NUMBER 4. DtsT. DKT./nEF. NUMBER s. APPEALS nxr.mEF. NuMBER 6. owen DKT. NUMBER
2.~04-020415-003 - m M___o.e.
7. lN cAsE/MA'I'I'ER or tcm N.n.¢) s. PAYMENT CATEGonY 9. TYPE PERsoN REPRESENTEo 10. R(§:P}us.sE¥TA;rlon Tvri:
le Il.S nlC lUllS .
U.S. v. C]ay Felony Adult Defendant Cri ` 3\

 

 

Il. OFFENSE(S} CH ARGED (Cile U.S. Code, 'l`i!le & Section) [i`more thln one nffense. list (up to tive) major of!aues chsrged, according to severity of o e e.
l) 21 841 A=CD. F ~- CONTROLLED SUB STANCE - SELL, DISTRIBU TE, OR DISPENSE

   

 

 

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1661 INTNL. FL.DRIVE Ptior Atinrney's Nnm¢:

MEMPHIS TN 33120 Appninimentl)lte:

 

ij Becsuse the shove-named person represented has testified under auth or has
otherwise satisfied this court lhlt he or she (l) il linancl\lly unlhle tn employ counsel end
Teleplmge Nnmb¢r: (1} does not wish to wllve cnunlel, end because t e interests ol]ustice so require, the

lttorney whme nsme lppesr.s in lie 2 is ted tn represent lh|s person in this esse.
14. NAME AND MAILING ADDRESS OF LAW F}RM ioniy provide per instructions) or

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-nnlure l' Pt'es|tling Judiclal Omcer or ny Ortler ofthe Court
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oi'Ortier Nunc Pro 'l'unc Dste

- eat or partial remment ordered from the person represented for this service st
time ol' sppoillllnenl. i:i YES NO

 

  
  
 
  
  
  
  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
  

       

 

 

 

 

 

 

 

CATEGORIES (Attlt:h itemization of services with datet)
15. a. Arraignment and/or Plea

b. Ball and Detention Hearings

c. Motion Hearings
f, d. Trial
C e. Sentencing Hearings
3 f. Revoeation Hearlngs
tr g. Appeals Court

h. Othcr (Speelfy on additional sheels)

(Rate per hour - 8 ) TOTALS:
lo. a. Interviews and Conferences
tth h. Obtaining and reviewing records
0 c. Legal rese arch and brief writing
; d. Travel time
,‘,’ e. lnvestlgativ e and Other work ¢sp¢cify on scanlon-l mem
g (Rste per hour - 5 ) TOTALS:
l'f. Travel Espenses (lodging, porking, meals, mileage, etc.)
18. Other F.xpenses (other t|um expert, tranmripts, etc.)
l9. CERTIF|CATION OF ATTORNEY/PAYEE FOR THE PERIOD 0 F SERVICE 21. CASE DlSPO SITl()N
FROM .l.o IF oTnER THAN CAsl-: coMl'LE'noN
21. CLAIM STATUS [:] Finll Plymeot m lnterim Plyment Number ____ I] Sup emenull'lyment
lisve you previously applied to the court ftl' compensation sndlor remimburlement for this csse? [:i YES 5 NO If yes, were you psid'.’ I:l YES Cl NO

Olher thso from the cour\, lllve you, or tnyonr knowledge has anyone else, received psyment {compensatlon or snytiting or vslue) from loy other source in connection with this
representstlon? YES ij NO ll`y¢l, give details on lddillon\i sheets.

l swear nrnf‘iirm lite truth nr correctness ofthe above statements

 
 

S|gnsture of Attorney:
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, 'ZS. EN CUOR'I` COMP. 24. OUT OF COURT COMP. 25. TR.AVEL EXPENSES 26. OTHER EXPENSES 27. TOTA AA*MMMT.PPRRT n
IB. S]GNATURE OF THE PRESID[NG JUD{CIAL OFFlCER D.»\TE IBa. JUDGE.'MAG..|UDGE CODE
29. lN COURT COMP. 30. OUT OF COURT COMP. .'ll. TRAVEL EXPENSES 32. OTHER EXPENSES 33. TOTAL »\M'i”. APPRDVED
34. S*lp(,ixv)\e'§li)nlz:lcg!l?n§¢ll~\lel §§‘:tlgg(i`,hl£;s€hgg].lzn'l;m()”: APP EALS (OR DELEGATE) Plyment DATE 341 JUDGE CODE

 

 

 

 

 

UN1TED sTESAT D1STR1C COURT - WETRSE DISTR1CT TENNESSEE

  

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This notice confirms a copy of the document docketed as number 93 in
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Honorable J on McCalla
US DISTRICT COURT

